
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission hearing date June 27, 1969.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The petitions for attorneys’ fees filed by respondents Mary and Frank Schmidt are each granted in the amount of $250.00.
ERVIN, C. J., and THORNAL, CARLTON, ADKINS and BOYD, JJ„ concur.
